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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMMERSION CORP.,

                    Plaintiff,
                                                       Civil Action No. 2:17-cv-00572-JRG
v.                                                     LEAD CASE

SAMSUNG ELECTRONICS CO., LTD. And                      Civil Action No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS AMERICA,                           CONSOLIDATED CASE
INC.,

                    Defendants.


                       THIRD AMENDED DOCKET CONTROL ORDER

        It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:

     Current Date            New Date                             Deadline

 5/13/2019                                  *Jury Selection – 9:00 a.m. in Marshall, Texas

 4/8/2019                                   *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                            before Judge Rodney Gilstrap

 4/3/2019                                   *Notify Court of Agreements Reached During Meet
                                            and Confer

                                            The parties are ordered to meet and confer on any
                                            outstanding objections or motions in limine. The
                                            parties shall advise the Court of any agreements
                                            reached no later than 1:00 p.m. three (3) business days
                                            before the pretrial conference.

 4/1/2019                                   *File Joint Pretrial Order, Joint Proposed Jury
                                            Instructions, Joint Proposed Verdict Form, Responses
                                            to Motions in Limine, Updated Exhibit Lists, Updated
                                            Witness Lists, and Updated Deposition Designations
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 3/25/2019                         *File Notice of Request for Daily Transcript or Real
                                   Time Reporting.

                                   If a daily transcript or real time reporting of court
                                   proceedings is requested for trial, the party or parties
                                   making said request shall file a notice with the Court
                                   and e-mail the Court Reporter, Shelly Holmes, at
                                   shelly_holmes@txed.uscourts.gov.

 3/15/2019                         File Motions in Limine

                                   The parties shall limit their motions in limine to issues
                                   that if improperly introduced at trial would be so
                                   prejudicial that the Court could not alleviate the
                                   prejudice by giving appropriate instructions to the jury.

 3/15/2019                         Serve Objections to Rebuttal Pretrial Disclosures

 3/8/2019                          Serve Objections to Pretrial Disclosures; and Serve
                                   Rebuttal Pretrial Disclosures

 2/27/2019                         Serve Pretrial Disclosures (Witness List, Deposition
                                   Designations, and Exhibit List) by the Party with the
                                   Burden of Proof

 1/28/2019       2/4/2019          *File Motions to Strike Expert Testimony (including
                                   Daubert Motions)

                                   No motion to strike expert testimony (including a
                                   Daubert motion) may be filed after this date without
                                   leave of the Court.

 1/28/2019       2/4/2019          *File Dispositive Motions

                                   No dispositive motion may be filed after this date
                                   without leave of the Court.

                                   Motions shall comply with Local Rule CV-56 and
                                   Local Rule CV-7. Motions to extend page limits will
                                   only be granted in exceptional circumstances.
                                   Exceptional circumstances require more than
                                   agreement among the parties.

 1/21/2019       1/30/2019         Deadline to Complete Expert Discovery

 1/4/2019        1/16/2019         Serve Disclosures for Rebuttal Expert Witnesses


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 12/14/2018            12/21/2018             Serve Disclosures for Expert Witnesses by the Party
                                              with the Burden of Proof
  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.


                               ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement, the
Court will appoint a mediator. The parties should not file a list of mediators to be considered by
the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive. These
copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.


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       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 24th day of January, 2019.




                                                  ____________________________________
                                                  RODNEY GILSTRAP
                                                  UNITED STATES DISTRICT JUDGE




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